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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA * CRIMINAL NO.: 18-160
v. * SECTION: “J”
JODY LAMBERT *
e *
FACTUAL BASIS

The defendant, JODY LAMBERT (“LAMBERT”), agrees to plead guilty to a
Superseding Bill of Information charging defendant with one count of civil rights conspiracy, in
violation of 18 U.S.C. § 241, for willfully conspiring to injure, oppress, threaten, and intimidate
D.P. in the free exercise of her rights under the federal Fair Housing Act. The defendant agrees
that, if this matter were to go to trial, the government would prove the following facts beyond a
reasonable doubt, and the defendant also agrees that the following facts are true:

In 2015, LAMBERT lived with his mother, R.K., his stepfather, T.J.K., his sister, B.L.,
and his stepsister, T.K. (who is T.J.K.’s biological daughter), along with his other family members
(collectively, “the family”). Until late August 2015, the family lived together in a home in
Kentwood, Louisiana (“the Kentwood home”). In August 2015, LAMBERT, R.K., T.J.K., and

T.K. moved to a property containing a mobile home on Rushing Lane in Amite, Louisiana (“the

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Rushing Lane property”). B.L. did not live at the Rushing Lane property full-time, but, starting in
August 2015, B.L. was regularly present at the property and lived there periodically.

D.P. is a relative of LAMBERT?’s mother, R.K. In 2015, D.P. and her mother came to live
with the family in the Kentwood home. D.P. has been diagnosed with disabilities, including
autism, and is handicapped, as that term is defined in 42 U.S.C. § 3602(h). Based on this diagnosis,
D.P. received a government disability check each month to pay for her living expenses. D.P.’s
mother died on August 12, 2015. Shortly afterward, D.P. moved with LAMBERT, R.K., T.J.K.,
and T.K. to the Rushing Lane property because D.P. had nowhere else to go. Also shortly after
D.P.’s mother died, T.J.K. started receiving D.P.’s monthly government disability check on D.P.’s
behalf.

Initially, at the Rushing Lane property, D.P. was permitted to sleep inside the family’s
mobile home. After a few days, however, D.P. was required to sleep in a camping tent in the
backyard. At R.K.’s direction, the family locked D.P. inside the tent at night with a small padlock
that fastened the tent’s zipper shut. T.K. was usually in charge of locking and unlocking D.P.’s
tent. On more than one occasion, LAMBERT also locked and unlocked D.P.’s tent.

At some point while D.P. was living in the locked tent, the family installed portable sheds
on the Rushing Lane property. R.K. and T.J.K. ordered D.P. to live in one of these sheds. The
shed did not have running water or electricity. The family gave D.P. a five-gallon bucket to use
as a toilet while she was inside the shed. At night, at R.K.’s and T.J.K.’s direction, the family
closed the door to the shed with a latch from the outside so that D.P. could not get out of the shed.

After a time, at R.K. and T.J.K.’s direction, the family also locked the shed from the outside by

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threading a small padlock through the closed latch. On more than one occasion, LAMBERT
locked D.P. into the shed at night.

After D.P. lived in the shed for a time, T.J.K. became angry with D.P. for spilling water on
the shed’s floor, causing the floor to rot. At T.J.K. and R.K.’s direction, D.P. was again required
to live in a locked tent in the backyard. This time, the tent was placed under an open wooden
structure.

One day, several months prior to June 30, 2016, and during the time D.P. was living in the
locked tent under the open wooden structure, T.J.K. and R.K. discussed where to house D.P. at
the Rushing Lane property because they did not want her to live inside the mobile home. During
this discussion, T.J.K. and R.K. agreed that they would move D.P.’s tent into a locked backyard
cage and force D.P. to live in the cage. The cage was already located in the backyard and had
previously been used to house animals.

Immediately after R.K. and T.J.K. reached this decision, the family started preparing the
cage for D.P. LAMBERT, T.K. and one of R.K.’s minor children gathered branches and a tarp
to put over the cage as camouflage. Once the cage was ready, T.J.K. told D.P. that if she was
going to act “retarded” and “play stupid,” then she would be treated accordingly. T.J.K. and R.K.
then ordered D.P. into the cage. D.P. complied, and R.K. locked the cage with a metal chain and
padlock.

At T.J.K.’s and R.K.’s direction, D.P. was forced to live in the cage. Usually, T.K. locked
D.P. into the cage at night and unlocked the cage in the morning. However, on more than one

occasion, LAMBERT locked D.P. into the cage. D.P. was forced to live in the cage for several

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months prior to June 30, 2016. The cage did not have running water or electricity at any point in
time. While inside the cage, D.P. was required to use a five-gallon bucket as a toilet.

Throughout the time D.P. and the family lived at the Rushing Lane Property, LAMBERT,
R.K., T.J.K., B.L., and T.K. collectively subjected D.P. to routine physical violence and threats of
physical violence. Each member of the family, including LAMBERT, physically assaulted D.P.,
and LAMBERT knew the physical abuse of D.P. to be routine. LAMBERT saw this regular
physical abuse and knew that these assaults often caused D.P. physical injuries. On one occasion,
LAMBERT shoved D.P., causing her to fall to the ground. LAMBERT also knew of the
following instances, among others, of physical violence against D.P.: T.J.K. shot D.P. with a BB
gun at close range, causing BBs to lodge under D.P.’s skin; T.J.K. hit D.P. with a wooden paddle;
T.J.K. burned D.P. with a lighter; T.K. dragged D.P. across the floor by D.P.’s hair; B.L. struck
D.P. over the head with a wood board, causing D.P. to bleed from the resulting wound. The
purpose and effect of these physical assaults was to intimidate D.P. into continued compliance
with the family’s orders, including, among other things, obeying orders to live inside the locked
tent, the locked shed, and the backyard cage.

Throughout the time D.P. lived at the Rushing Lane property, LAMBERT, T.J.K., B.L.,
and R.K. threatened D.P. LAMBERT knew the threats made to D.P. to be routine. These threats
included, among other things, threats to shoot D.P. if she ever tried to escape the Rushing Lane
property, threats to beat her if she disobeyed the family’s orders, and threats to kill her if she ever
reported the family to law enforcement. On one occasion, LAMBERT threatened to hurt D.P. if

she ever spoke to law enforcement. On another occasion, R.K. pointed a pistol at D.P. and

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threatened to shoot her. The purpose and effect of these threats was to scare D.P. into continued
compliance with the family’s orders, including, among other things, obeying orders to live inside
the locked tent, the locked shed, and the backyard cage.

Throughout the time D.P. lived at the Rushing Lane property, each member of the family,
including LAMBERT, regularly called D.P. “stupid,” and “retarded,” in reference to D.P.’s
handicap. LAMBERT understood that the reason for forcing D.P. to live inside the locked tent,
the locked shed, and the backyard cage was because of D.P.’s handicap, and because the family
did not want D.P. to live inside the mobile home.

Throughout the time D.P. and the family lived at the Rushing Lane property, LAMBERT,
R.K., T..K., B.L., and T.K. willfully combined, conspired, and agreed with each other to injure,
oppress, threaten, and intimidate D.P. to interfere with her right to rent and occupy, without
discrimination, a place in the family’s mobile home, and to interfere with her right to leave the
Rushing Lane property and rent or occupy a home elsewhere without discrimination. LAMBERT
was aware of this plan among his other family members, agreed to participate in it, and engaged
in acts both on his own and with other members of his family that advanced the plan’s objective.
LAMBERT also was aware that the purpose of this plan was to prevent D.P. from living in the
mobile home because of D.P.’s handicap, and to prevent D.P. from leaving and renting or

occupying a home elsewhere.

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Both the government and the defendant, JODY LAMBERT, do hereby stipulate and agree

that the above facts are true, and that they set forth a sufficient factual basis for the crime to which

the defendant is pleading guilty.

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(Date)

Defendant

  

Counsel for Defendant

 

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